                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

USA                                            §
                                               §
vs.                                            §    NO: AU:21-M -00935(1)
                                               §
(1) Franklin Barrett Sechriest                 §


          EXHIBIT LIST for DETENTION HEARING held on December 15, 2021

Exhibit                                   Description                       Date Admitted
Govt 1        Criminal Acts - Reported Corroborated: Journal Entries        12/15/2021
Govt 2        Criminal Acts - Not Yet Corroborated: Jounral Entries         12/15/2021
Govt 3       Weapons: Journal Entries                                       12/15/2021
Govt 4       Hate Bias: Journal Entries                                     12/15/2021
Govt 5       Parent Interactions: Journal Entries                           12/15/2021
Def A        Letter Dated December 14, 2021 from Russell Rice               12/15/2021
